         Case 1:12-cv-01140-WSD Document 22 Filed 08/27/18 Page 1 of 2



                                                                                     FILED IN CLERICS OFFICE
                       IN THE UNITED STATES DISTRICT COURT                               U.S.D.C. - Atlanta
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION                                          AUG 2 7 2018
                                                                                    JADES N. HAT-FEN, Clerk

IN RE: WRIGHT MEDICAL                             MDL DOCKET NO. 2329              By:    `~~        eputy Clerk
TECHNOLOGY, INC., CONSERVE HIP
IMPLANTS LIABILITY LITIGATION                     1:12-md-2329-TT

This Document Relates to:

Eleda Cohen, Case No. 1:12-cv-01140

Michael Lee, Case No. 1:12-cv-02039




To the Clerk of this Court and all Parties of Record:

       The undersigned hereby notifies the Court and counsel that Cherisse Heidi A. Cleofe of

Kiesel Law LLP is appearing as counsel of record on behalf of Plaintiffs in the above-referenced

actions. Counsel respectfully requests that all future documents or communications to Plaintiffs be

electronically served on the undersigned at cleofe@kiesel.law.



Dated: August 23, 2018                    Respectfully Submitted,

                                          Counsel for Plaintiffs


                                          By:
                                                     sse Heidi A. Cleofe
                                                California State Bar No. 290152
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                                                Beverly Hills, CA 90211
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        Case 1:12-cv-01140-WSD Document 22 Filed 08/27/18 Page 2 of 2



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERNDISTRICT      GEORGIA
                               ATLANTA DIVISION

                                                                               JAMES N. HAVEN, Clark
IN  : WRIGHT- MEDICAL                             MDL DOCKET NO. 2329          By:     a   Deputy Clerk
TECHNOLOGY, INC., CONSERVE HIP
IMPLANTS LIABILITY LITIGATION                     1:12-d-2329-TWT

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Eleda Cohen, Case No. 1:12-cv-01140

Michael Lee, Case No. 1:12-cv-02039


                              NOTICE OF MANUAL FILING


To the Clerk of this Court and all Parties of Record:

       We request the attached Notice of Appearance of Counsel Cherisse Heidi A. Cleofe be

manually filed as we are waiting for my ECF filing login and password.



Dated: August 23, 2018                  Respectfully Submitted,

                                        Counsel for Plaintiffs


                                              0


                                        By
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